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    ATTORNEYS FOR DEFENDANT
    UNITED STATES OF AMERICA


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                               HELENA DIVISION

    COUNTY OF POWELL, a political
    subdivision of the State of Montana,
                                                      CV 22-21-H-SEH
                Plaintiff,
         vs.
                                                      UNITED STATES’ CORRECTED
    UNITED STATES OF AMERICA,                 1       PRELIMINARY PRETRIAL
                                                      STATEMENT
                Defendants.


         Pursuant to the Court’s Order of June 3, 2022 (Doc. 11, ¶ 8) and L.R.

16.2(b)(1), the United States provides the following corrected preliminary pretrial

statement:


1
  The caption is amended to reflect the proper party in interest. Fed. R. Civ. P. 21; Sawtooth Mountain
Ranch LLC v. United States, 2020 WL 184576 (D. Idaho Jan. 13, 2020) (citing Block v. North Dakota ex
rel. Bd. of Univ. & Sch. Lands, 461 U.S. 273, 286 (1983)).
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A.    A brief factual outline of the case.

      Plaintiff asserts that a road that runs north-south through Grant Kohrs Ranch

National Historic Site (GRKO), owned and operated by the National Park Service,

Department of the Interior (NPS), is a county right-of-way, established in part,

under Revised Statute 2477 (R.S. 2477). The road is located specifically in the E½

of Section 32, Township 8 North, Range 9 West, of the Montana Principal

Meridian and is also referred to as the West Side Road. Recently, Plaintiff has

included that portion of the road as it traverses GRKO in its plans to establish a

recreational trail known as the Old Yellowstone Trail (OYT) and has brought this

action to quiet title to the alleged right-of-way.

B.    The basis for federal jurisdiction and for venue in the division.
      Plaintiffs claim federal court jurisdiction is provided by the federal question

statute (28 U.S.C. § 1331), the Quiet Title Act (28 U.S.C. § 2409a), 28 U.S.C.

§ 1346(f), and the Equal Access to Justice Act (28 U.S.C. 2412). Plaintiff claims

that venue is proper in the Helena Division because the real property at issue is

located in, and all events giving rise to Plaintiff’s claims occurred in, Powell

County.

C.    The factual basis of each claim or defense advanced by the party.

      Plaintiff’s claims are time-barred under the QTA because GRKO




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blocked and controlled the West Side Road when it acquired the property in 1988.

The United States’ predecessor in interest (Con Warren), also blocked and

controlled the West Side Road before 1988.

      Plaintiff’s QTA claims will also fail because they cannot prove the

elements of a public prescriptive easement. There has been no open and adverse

and uninterrupted use of the West Side Road across GRKO for the statutory (5-

year) period. To the extent such use may have occurred historically, any putative

prescriptive use right was extinguished by reverse prescription in 1938 (through

the actions of Con Warren) and in 1988 (through the actions of the United States).

      Plaintiff’s claims also must fail because the location of current West Side

Road (over the E½ of Section 32) does not correspond to the various historical

road locations cited in Plaintiff’s Complaint. Plaintiff will not be able to establish

historical use or R.S. 2477 right-of-way on the current route.

D.    The legal theory underlying each claim or defense, including, where
      necessary to a reasonable understanding of the claim or defense,
      citations to authority.

      The legal theory underlying the United States’ defenses include that the

Plaintiff’s claims are barred by the Quiet Title Act’s statute of limitations. 28

U.S.C. § 2409a(g). A strict condition of the waiver of sovereign immunity for QTA

claims is that such claims must be brought within 12 years after they accrue.

United States v. Mottaz, 476 U.S. 834, 843 (1986). The claim accrues when “the
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plaintiff or his predecessor in interest knew or should have known of the claim of

the United States.” 28 U.S.C. § 2409a(g). The limitations provision in § 2409a(g)

is a jurisdictional prerequisite. Skranak v. Castenada, 425 F.3d 1213, 1216 (9th

Cir. 2005).

       The United States’ defense is also based upon the law of easements. Plaintiff

cannot establish a public prescriptive easement to the West Side Road. The public

may acquire a prescriptive easement over a private road if the claimant establishes

that the use of the roadway was open, notorious, adverse, continuous and

uninterrupted for the complete statutory period. Lewis and Clark County v.

Schroeder, 374 Mont. 477, 482 (2014). Montana’s statutory prescriptive period is

five years. Id.

E.     A computation of damages.

       The United States is not claiming damages in this case.

F.     The pendency or disposition of any related state or federal litigation.

       The United States is aware of the following, potentially related, active state

court litigation: Rock Creek Cattle Company, Ltd. LP v. Powell County, Cause No.

DV-22-42.

G.     Proposed additional stipulations of fact not included in the Statement of
       Stipulated Facts, see L.R. 16.2(b)(3), and the parties’ understanding as
       to what law applies.



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      None.

H.    Proposed deadlines relating to joinder of parties or amendment of the
      pleadings.

      The parties have agreed to a proposed deadline for joinder of parties and/or

amendment of pleadings July 29, 2022.

I.    Identification of controlling issues of law suitable for pretrial
      disposition.

      Statute of limitations for claims arising under the Quiet Title Act.

J.    The name and city and state of current residence of each individual
      known or believed to have information that may be used in proving or
      denying any party’s claims or defenses, and a summary of that
      information. If known, the address and telephone number of the
      individual must be provided to all counsel on request.

                        National Park Service Personnel

      1.      Jacqueline Lavelle, GRKO Superintendent, Deer Lodge, MT

            Superintendent Lavelle has been the primary NPS point of contact for
      communications to and from Plaintiff regarding its claim to the road. Ms.
      Lavelle has knowledge of, and information relating to, GRKO’s history and
      management of the site by NPS. Further, Ms. Lavelle has participated on
      behalf of NPS/GRKO in discussions with Plaintiff regarding the OYT
      project, negotiation of the CMA, and other matters involving the disputed
      road.

      2.      Jason Smith, GRKO Natural Resource Program Manager, Deer
              Lodge, MT

            Mr. Smith has knowledge of Plaintiff’s OYT project and has been
      working with county personnel and the Army Corps of Engineers regarding
      permitting questions for the OYT. Mr. Smith is familiar with the locations of
      the obliterated road and the West Side Road and has participated in meetings
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      involving GRKO and Powell County staff and commissioners regarding the
      road dispute.

      3.    Julie Croglio, GKRO Chief of Interpretation and Education, Deer
            Lodge, MT

            Ms. Croglio is familiar with the locations of the obliterated road and
      the West Side Road and has participated in meetings involving GRKO and
      Powell County staff and commissioners regarding the road dispute. Ms.
      Croglio also sits on the Powell County Parks Board, in her individual
      capacity as a private citizen, and not in conjunction with her role at GRKO.

      4.    Andrea Hannon, NPS GAOA Contract Expediter, Livingston, MT

           Ms. Hannon is familiar with the locations of the obliterated road and
      the West Side Road and has participated in meetings involving GRKO and
      Powell County staff and commissioners regarding the road dispute.

            The United States may also use any other individuals identified by the

      Plaintiff during the course of litigation, or identified by third parties during

      depositions or discovery, to support it’s claims or defenses.

K.    The substance of any insurance agreement that may cover any resulting
      judgment.

      There is no applicable insurance agreement.

L.    The status of any settlement discussions and the prospects for
      compromise of the case.

      There have been no settlement discussions since this action was filed. Prior

to filing, the parties tried to negotiate a cooperative management agreement.

Plaintiff abandoned that effort for unknown reasons.



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M.      Suitability of special procedures.

        The United States is not aware of any applicable or warranted special

procedures.

N.      A copy–or a description by category and location–of all documents,
        electronically stored information, and tangible things that the disclosing
        party may use to support its claim or defenses.

        The Unites States currently has in its possession the following documents

which may be used to support its defenses in this case:

     - 2019 Powell County Attorney Legal Opinion – Old Yellowstone Trail
       Project

     - August 11, 2020, Letter and Attachments from J. Lavelle (NPS) to Powell
       County Attorney re: Old Yellowstone Trail discussions

     - January 15, 2021, Letter and Exhibits from Attorney G. Schultz to J. Lavelle
       (NPS) re: County Road No. 9

     - January 27, 2021, Letter from J. Lavelle (NPS) to Attorney G. Schultz re:
       Receipt of Letter and Support of OYT project

     - June 9, 2021, Letter and Exhibits from Powell County Attorney to L. Bruno
       (NPS) re: OYT Development, Update, and Timeline

        DATED this 27th day of June, 2022.

                                       JESSE A. LASLOVICH
                                       United States Attorney

                                       /s/ Mark Steger Smith
                                       MARK STEGER SMITH
                                       JOHN M. NEWMAN
                                       Assistant U.S. Attorneys
                                       Attorneys for United States
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                          CERTIFICATE OF SERVICE

     I hereby certify that on the 27th day of June, 2022, a copy of the foregoing
document was served on the following person by the following means.

       1, 2         CM/ECF
                    Hand Delivery
                    U.S. Mail
                    USAfx
                    E-Mail

1. Clerk of Court                         2. Gregory G. Schultz
                                          Jeffrey R. Kuchell
                                          CROWLEY FLECK PLLP
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                                             /s/ Mark Steger Smith
                                             MARK STEGER SMITH
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                                             Attorney for United States




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